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                           FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

        REYNALDO GONZALEZ; THE                      No. 18-16700
        ESTATE OF NOHEMI GONZALEZ;
        BEATRIZ GONZALEZ, Individually             D.C. No. 4:16-
        and as Administrator of the Estate of      cv-03282-DMR
        Nohemi Gonzalez; JOSE
        HERNANDEZ; REY GONZALEZ;
        PAUL GONZALEZ,

                    Plaintiffs-Appellants,

         v.

        GOOGLE, LLC,

                    Defendant-Appellee.

              On Remand from the United States Supreme Court

                              Filed July 3, 2023

        Before: Ronald M. Gould, Marsha S. Berzon, and Morgan
                       Christen, Circuit Judges.

                                    Order
Case:4:16-cv-03282-DMR
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                                  SUMMARY *


                              Anti-Terrorism Act

            The panel remanded this case to the district court for
        further proceedings consistent with Gonzalez v. Google
        LLC, 143 S. Ct. 1191 (2023) (per curiam).




                                   COUNSEL

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        Reynaldo Gonzalez.
        Robert J. Tolchin (argued) and Meir Katz, The Berkman
        Law Office LLC, Brooklyn, New York, for Plaintiffs-
        Appellants the Estate of Nohemi Gonzalez, Beatriz
        Gonzalez, Jose Hernandez, Rey Gonzalez, and Paul
        Gonzalez.
        Brian M. Willen (argued), Wilson Sonsini Goodrich &
        Rosati New York, New York; David H. Kramer and Kelly
        M. Knoll, Wilson Sonsini Goodrich & Rosati, Palo Alto,
        California; Lauren Gallo White, Wilson Sonsini Goodrich &
        Rosati, San Francisco, California; Paul Harold and Steffen
        N. Johnson, Wilson Sonsini Goodrich & Rosati,
        Washington, D.C.; for Defendant-Appellee.

        *
         This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
Case:4:16-cv-03282-DMR
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        Electronic Frontier Foundation.
        Yavar Bathaee, Bathaee Dunne LLP, Austin, Texas; Brian J.
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        Amici Curiae Artificial Intelligence Law and Policy
        Institute.



                                ORDER

           This case is REMANDED to the district court for further
        proceedings consistent with the United States Supreme
        Court’s opinion in Gonzalez v. Google LLC, 143 S. Ct. 1191
        (2023) (per curiam).
